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                                         Exhibit B




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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

TRIBUNE COMPANY, et al.,                                     Cases No. 08-13141 (KJC)
                                        Debtors.
                                                             Jointly Administered



   STIPULATION CONCERNING LAW DEBENTURE’S MOTION (D.I. 7522) TO
 COMPEL OAKTREE TO PRODUCE DOCUMENTS PURSUANT TO BANKRUPTCY
    RULES 9014 AND 7037 AND FEDERAL RULE OF CIVIL PROCEDURE 37


          WHEREAS Law Debenture Company of New York (“Law Debenture”) filed a motion

(D.I. 7522) to compel Oaktree Capital Management, L.P. (“Oaktree”) to produce certain FCC-

Related Documents (the “Motion”);


          WHEREAS Oaktree has objected to the Motion;


          WHEREAS the parties have negotiated a settlement that fully resolves the Motion on the

terms and conditions set forth in this Stipulation and [Proposed] Order;


          IT IS NOW HEREBY STIPULATED AND AGREED:

          Subject to the following paragraphs of this Stipulation, Oaktree will produce the

following documents to Law Debenture relating to FCC matters (“FCC Discovery”):


          1.     With respect to the entities set forth on Exhibit A hereto,


                 (a)     a statement indicating whether Oaktree1 owns a 5% or greater Equity

                         Interest2 or more than a 33% Debt Interest,3 and, with respect to any 5% or

     1
         For the purposes of paragraph 1, “Oaktree” means Oaktree or any affiliate of Oaktree.
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                        greater Equity Interest, whether such interest is between 5% and 25%,

                        exceeds 25% but is not more than 50%, or exceeds 50%; and


                (b)     for any such entity in which Oaktree holds such an interest, the Certificate

                        of Incorporation, Bylaws, Stockholders Agreement, Limited Liability

                        Company Agreement, Partnership Agreement, or similar documents, to

                        the extent the same (x) are within Oaktree’s possession, (y) are not

                        restricted from disclosure (including by any applicable confidentiality

                        provisions or agreements), and (z) show:


                        (i)    the governance structure of such entity and any governance or

                               management authority or rights of Oaktree, including director

                               designation or nomination rights; or


                        (ii)   the Equity Interest or Debt Interest held or managed by Oaktree.


         2.     Documents relating to steps taken by Oaktree to render its interest in Liberman

                Broadcasting Inc. non-attributable under the FCC’s rules, or confirmation that no

                such documents exist.


         3.     Provision of the information set forth herein will resolve Law Debenture’s Motion

                to Compel [D.I. 7512], which Law Debenture shall promptly withdraw with

                prejudice. Any documents and information that Oaktree may produce in


    2
      “Equity Interest” means any current direct or indirect ownership interest, excluding any
contingent or future interest such as an option or warrant.
    3
        “Debt Interest” means any debt.

                                                  3
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       connection with this resolution are subject to the protections of the Depository

       Order [D.I. 2858]; as provided by the Depository Order and Acknowledgement

       thereto, Law Debenture agrees to use the documents “solely in connection with

       the Cases.” (Acknowledgement, ¶ 3.) Pursuant to the Depository Order and

       Acknowledgement, certain documents produced by Oaktree will be designated

       “Financial Institution Highly Confidential,” “Highly Confidential – Attorneys’

       Eyes Only,” or “Confidential.” Law Debenture reserves its rights pursuant to the

       Depository Order and Acknowledgement to challenge such designations, but will

       abide by the terms of the Depository Order and Acknowledgment applicable to

       such documents and, absent further order of the Court, will not use such

       documents in a bankruptcy or other court filing unless filed under seal.

       (Acknowledgment, ¶ 7) In addition, absent further order of the Court, Law

       Debenture agrees not to raise, utilize, provide or discuss any such documents (as

       identified in the preceding sentence), or facts learned therein, with the FCC,

       except to the extent such documents or facts are otherwise publicly available

       (other than by means of a violation of this Stipulation and Order). Oaktree

       reserves all of its rights as set forth in Oaktree’s Objections and Responses to Law

       Debenture’s Second Request for the Production of Documents.


4.     The statements provided pursuant to this Stipulation shall be based on Oaktree’s

       knowledge, information, and belief, formed after a reasonable, good faith inquiry.

       Oaktree will use its reasonable best efforts to produce the foregoing documents on

       a rolling basis by February 11, 2110, and will in any event comply with its




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              obligation under the Case Management Order to complete production within 15

              days of this Order.


       5.     To the extent that Law Debenture wishes to submit a report on behalf of an FCC

              expert, such report shall be due on February 14, 2011 by 1 p.m. EST. To the

              extent that Oaktree or any other proponent of the Debtor/Committee/Lender Plan

              wishes to submit a rebuttal report on behalf of an FCC expert, such report shall be

              due on February 25, 2011.



Dated: February 4, 2011                   BIFFERATO GENTILOTTI LLC
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                                          -and-

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Dated: February 4, 2011           YOUNG CONAWAY STARGATT &
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                                  -and-

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                                  James O. Johnston
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                                          - and -

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                                  L.P.




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                                     Exhibit A

Affiliated Media Inc.
Sun-Times Media Holdings LLC
ASP Westward, L.P.
Seattle Times Company
Swift Newspapers Inc.
Halifax Media Acquisition Inc.
American Consolidated Media, L.P.
GateHouse Media Inc
Fisher Communications Inc.
Black Crow Media Group
Newsweb Corporation
Cherry Creek Radio LLC
Citadel Broadcasting
Grupo Radio Centro
Entravision Communications Corp
Freedom Communications
ION Media Networks Inc.
Inner City Broadcasting Corporation
Journal Register company
Lazer Broadcasting Corporation
Max Media LLC
Morris Communications Company
Midwest Communications Incorporated
Millennium Radio Group LLC
Nassau Broadcasting
NextMedia Group Inc.
NRG Media LLC
Philadelphia Media Network, Inc.
[Philadelphia Inquirer]
Radio One Inc.
Saga Communications Inc
Salem Communications Corporation
Sinclair Broadcast Group Inc.
Spanish Broadcasting Systems
TTBG LLC [former Pappas stations]
Broadcasting Media Partners [Univision]
Vox Media
WRNN-TV
ZGS Communications
